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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Scientel Solutions, LLC v.                     Case Number: 1:17-CV-00937-JBG-MDW
            Richard Seiff

An appearance is hereby filed by the undersigned as attorney for:
Nelson Santos
Attorney name (type or print): Edward J. Naughton

Firm: BROWN RUDNICK LLP

Street address: One Financial Center

City/State/Zip: Boston, MA 02111

Bar ID Number: MA Bar ID 600059                            Telephone Number: 617-856-8567
(See item 3 in instructions)

Email Address: enaughton@brownrudnick.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?    ✔ Yes                           No
           $SSOLFDWLRQWRWULDOEDUSHQGLQJ
If this is a criminal case, check your status.              Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this &ourt an attorney must either be a member in good standing of this &ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 8.6.&§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on March , 2017

Attorney signature:            S/ Edward J. Naughton
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
